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                        UNITED STATES DISTRICT COURT DISTRICT
                         EASTERN DISTRICT COURT OF VIRGINIA
                                     (RICHMOND DIVISION)

       Andrew Chien: Pro Se Plaintiff                  CIVIL ACTION NO: ^!21 C V(2
                                                                                |
       -against-
       Defendants: Edward A Robbins Jr.
       Frederick G.Rockwell III                         February 19,2020
       Wendy Hughes; Karl S. Leonard

                                    COMPLAINT
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                                   1. Summaiy of Action

    1. Plaintiff Andrew Chien ("Chien"), appearing as pro se, submits the complaint,for the

purpose ofseeking declarations relief that Chien has been a victim ofthe judicial misconduct of

all defendants which made the Chesterfield County Circuit Court of VA ("Chesterfield Circuit

Court") as Racketeering Enterprise under definition of 18USC§1961(4) the Racketeer

Influenced and Corrupt Organizations Act(RICO), 18USC§1961-§1968.

    Hon. Frederick G. Rockwell III("Hon. Rockwell"), in Chien's cases CL. 12-485,485(1),

485(2), under cheating of Richard J Freer ("Freer") and attorney Andrew K Clark ("Clark"),

issued wrongly defaultjudgment of$1.6 million by fabricated evidence against Chien for

purpose to reimburse Freer's compensation "loss" under the chapter 11 of Commonwealth

Biotechnologies Inc("CBI"), which committed subject error to interrupt the interstate commerce

of CBI's bankruptcy by aided Freer and Clark to retaliate Chien's whistle-blower of Freer's

embezzlements. Another lack of encourage ofjustice of Hon. Rockwell under title of Chief

Judge in 2013, was that he didn't immediately to stop the Chien's illegal incarceration for VA

debt collection by William K Grogan ("Grogan"), Commissioner in Chancery,in conspiracy

v^th Clark and Freer. The continued misconduct is that Hon. Rockwell on 7/12/2018,issued an

order under CL.12-485-02 to deny Chien's request to invalid his judgement on 8/9/2012 for case

CL.12-485. To collect the judgment debt is an excuse ofthe pattern of acts ofRICO among

Clark, Freer with agency Grogan and Clerks and Sheriffs of Chesterfield Circuit Court.

     Hon. Edward A. Robbins Jr.("Hon. Robbins"), current Chief Judge to replace former Chief

Judge Timothy J. Hauler, issued order under Case CL.15-1569, on 01/13/2021 to deny any

wrongdoing of VA Debt Collection including to deny Chien's motions for declaration relief of

admitting the illegal incarceration and illegal court certificate on 2/18/2014 to certify Grogan's

order of making forged stock certificate for Freer, with purpose to change corporation control of

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China Bull Management Inc (ticker:" CHBM"),then stealing the cash of CHBM,and wrongly

occupied the assets of CHBM and other shareholder certificates under Chien's custody, offenses

of 18USC§1962(b).

   Sheriff Karl S. Leonard ("Leonard")(beginning from February of2014)and Clerk Wendy

Hughes("Ms. Hughes")(from September of 2014)directly engaged in illegally incarcerating

Chien until 6/27/2016 with offenses of aiding and abetting acts of RICO, 18USC§1959, with

conspiracy, extortion, threaten for grand-larceny or bribery, and forges stock certificate.

                                   II. Parties


    2. Plaintiff Andrew Chien("Chien"), a resident of CT,at 665 Ellsworth Avenue,New

Haven, CT 06511. Tel: 203-5628899

    3. Defendants:(a)Hon. Edward A. Robbins Jr., Chief Judge of Chesterfield Circuit

Court,9500 Courthouse Road, Chesterfield, VA 23832-0125

    (b)Frederick G. Rockwell III, Judge of Chesterfield Circuit Court,9500 Courthouse Road,

Chesterfield, VA 23832-0125

    (c) Wendy S Hughes,clerk of Chesterfield Circuit Court,9500 Courthouse Road,

Chesterfield, VA 23832-0125; Tel:(804)748-1241.

    (d)Karl S. Leonard, Sheriffof Chesterfield County,9500 Courthouse Road, Chesterfield,

VA 23832; Tel: 804-748-1261.

                                   III. Jurisdiction

    4. This court has subject matter over all defendants due to "28USC §1331",federal

question,28USC §1343(3)" and "42USC §1983" of Civil Right Violation,"28USC §1367" of

supplemental jurisdiction;"18USC §1965" of special jurisdiction over all defendants under

RICO allegations. The Court has personal jurisdiction over defendants, because they have
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regular business in VA. The venue is proper due to Local Rule 3(B)(4).

   5. This complaint has no intention to change any orders made by Hon. Rockwell or Hon.

Robbins. But this court has no barrier by federal laws,to point thefraud ofthese orders which

aiding and abetting acts of RICO,and violating Amend IV & XIV of Constitution.

     For example, Hon. Rockwell in Case CL12-485, interrupted CBI Bankruptcy and

committed subject error. In Case: Kalb v. Feuerstein, 308 U.S.433,438(1940), Supreme Court

       "The action ofthe state court in this case in proceeding contrariwise, without the
       consent ofthe bankruptcy court, was not merely erroneous, but was in excess ofits
       authority, void, and subject to collateral attack."(emphases added)

                                   IV. Brief ofthe Case


   6. The earliest confliction between Chien and Freer, Clark, initiated from Chapter 11 of CBI

on 01/10/2011, in which Freer was the only operating director, and Chien was whistle-blower to

expose Freer himselfand sometimes with Clark, and others together to embezzle the cash of

CBI. Chien was hired by then CBI Chairman,to hold CBI shareholder meeting in March of

2011, to expose Freer's embezzlements and dispose Freer's control of CBI. The proposals ofthe

meeting, were approved by SEC on 1/14/2011, and over 98% voted shares to support removing

Freer. But that meeting was terminated in the middle due to interruption of Freer. Then Freer

through attorneys Clark and others, sued Chien, case CL.12-485, with excuse of defamation to

ask for Freer's compensation "loss" under CBI'sjob. This lawsuit was to interrupt the process of

Chapter 11 of CBI to retaliate Chien's whistle-blower, because any tort during CBI's chapter 11,

only can be initiated in the Bankruptcy Court, or to the District Court after the Bankruptcy

Court's approval, due to "28 U.S. Code § 157.Procedures:

       (b)...(5)The district court shall order that personal injury tort and wrongful death claims
       shall be tried in the district court in which the bankruptcy case is pending, or in the which
       district court in the district in which the claim arose, as determined by the district court in
       the bankruptcy case is pending."
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   Also, the Bankruptcy Court announced it has dominated jurisdiction to determine Freer's

compensation Therefore, the defaultjudgment committed subject error.

    7. Further the evidence of Freer's compensation loss was fabricated. In case CL.12-485,

there was damage hearing on 7/30/2012. Clark first submitted documents to identify Freer's

CBI salary in 2010 was $124,515, and fully paid.

    Exh. 17. Freer's CBI compensation table from year 2003 to 2011 (not to July 15,2012) with
    record that Freer's compensation in 2010 was $124,515 only,fully paid.

    Exh. 20. CBI 10-K for year 2011 which reported Freer in 2010 had compensation of
    $124,515 fully paid.

Due to Exhibits 17 & 20,the defamation accuse was hard to stand. Then Clark for over 10 hours

of legal time, began to add another compensation table Exh,27 to fabricate Freer's 2010 salary

    Exh. 27. Freer's CBI compensation table for year 2003 to July 15, 2012 with record that
    Freer's compensation in 2010 was $222,096.70 with unpaid of$97,581.70.

On the damage trial, Exh. 27 was projected onto the big screen to demonstrate Chien's defaming,

while Clark never mentioned Exh. 17, and Exh. 20 of audited financial statement.(Note: Exh. 27

also filed in this court on 12/26/2013 in Case 3:12CV00540 to oppose Chien's appeal).

   Submitting fabricated evidence documents in the court and used by the court, is the mail

fraud and wire fraud (email fraud is wire fraud) with offenses of 18USC §1341 & §1343.

    Hon. Rockwell under subject error, used the fabricated documents to favor Freer, which

created the unjust-enrichment. Hon. Rockwell aided the mail fraud and wire fraud. Chesterfield

Circuit Court became the workshop of private party's RICO. Freer and Clark engaged the

predicates of RICO by creating the judgment debt with fabricated and illegal nature.

    8. Despite that since 09/26/2012, Freer, at Clark and others, initiated active debt collection in

Connecticut Superior Court, Jurisdiction ofNew Haven("JD ofNew Haven"), NNH-CV12-
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4053717-S, Grogan in conspiracy with Clark and Freer, initiated VA debt collection by illegal

incarceration for 1148 days(about 38 months)until 6/27/2016, without criminal procedure.

   9. During the incarceration period, Grogan made secret order of making forged stock

certificate for Freer on 2/18/2014, which was wrongly certified by former clerk Judy L

Worthington as the Court order, then Freer obtained the forged one.

    10. There are regulations to limit the illegal incarceration.

    (a) According to due process of Amend XIV and VA law, it violated civil right for any

person without conviction after arrested over 3 days. But Chien had been for over 3 years

   (b)There is a net-work ofthe offense system installed among the Court,jail facility and

office of sheriff to control the criminal procedure, any incarceration period should match an

offense code. In Grogan's orders, the incarceration reasons are "civil contempt". There is no

offense code for 'civil contempt", because VA Code "§18.2-7 Criminal act not to merge civil

remedy". In Chien's records, the clerks intentionally misused the wrong offense code:

CON3210S9, which is court contempt by ajudge(not Commissioner in Chancery) under

punishment of VA Code "§18.2-456" and "§18.2-457" with maximum penalty of$250 or ten

days in jail if withoutjury impaneled.

   (c)There is strict accounting procedure to pay security costs ofabout $30,000 per year for

inmates. Under the standard procedure, for incarcerating over 12 months,the VA State will pay

over 50%, Chesterfield County will pay about 42%,while the other will be paid by federal

programs. The payment procedure has done based on the jail records under offense code,

affirmed and signed monthly by Sheriffs, and Clerks. In Chien case, the costs payment came

100% from Chesterfield County for criminal system fund, offense of Wrong Appropriated Public

Assets, VA Code "§18.2-112.1. B", which specified that "the value ofsuch use exceeds $1,000
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in any 12-month period, is guilty ofa Class 4 felony for any full-time officer, and agent." The

jail payment is monthly made,therefore Ms. Hughes and Mr. Leonard for dozens oftimes,

violated VA Code "§18.2-112.1. B", pattern ofRICO.

    11. Chien was a secret inmate. There are no public records of Chien's arrests and

incarceration, such as VA Police Records, VA Department of Corrections, FBI etc. If you

through search engine of public records: www.truthfmder.com; instantcheckmate.com;

www.publicrecordsOfficial.com,seekverify.com etc., you will not find any records of Chien

ever being arrested or imprisoned. On 6/28/16 the next day after Chien released, Chien visited

Richmond Office of FBI,the employees ofFBI told Chien there was no records of Chien being

ever arrested or imprisoned in VA.

    12. In July of2018, umber case CL 12-485, Chien submitted

       "Motions for(1)to Invalid Final Judgment Dated 8/9/2012 from §8.01-428(D)Because of
       (a)Subject error (b)Peijured Evidence (c)False imprisonment(d)Peijured Stock
       Certificate and Stole Third-Party Cash;(2)Counterclaims from §16.1-88.01."

On 7/12/2018, Hon. Rockwell ordered to reject Chien's Motion because of no jurisdiction. As

long as the judgment debt exists, Chien consistently faced thread under RICO for debt collection.

    13. During Chien's illegal incarceration, Chien filed CL 15-1569 Chien v. Hughes et al,

which was wrongly denied by former Chief-Judge Hon. Hauler. Recently, Ms. Hughes wanted to

eliminate the document ofthis cases. Chien objected and wanted to correct previousjudgment

error to affirm that Ms. Hughes violating Chien's civil right. Also, Chien filed Motion asked Ms.

Hughes to correct the previous wrong certification on 2/18/2014 following VA Code "§ 8.01-

428B", which specified no time limitation to correct clerk's error. But Hon. Robbins issued

order on 01/13/2021 denied Chien's two pleadings, and denied any wrongdoing because all of

Chien's suits are frivolous by a list ofthe failures of Chien's previous cases in VA State Courts


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and Federal Courts of VA and CT. Further Hon. Robbins gives bias and sanction to limit Chien's

access to Chesterfield Circuit Court except to hire a counsel.

    14. Using the failures of Chien's previous cases as an excuse to defend the illegal

incarceration, misused evidence. The Federal Rules ofEvidence required to find relevant facts.

    Rule 401. Test for Relevant Evidence
              (bj thefact is ofconsequence in determining the action (emphases added).

     Hon. Robbins violated Evidence Rule 401(b)to use wrong facts to determine the action,

because the consequence of Chien's incarceration is debt collection, not the result ofthe failures

of Chien's previous cases. Chien was never sued by VA Government. On the contrary, it is the

illegal incarceration caused Chien's countersuits and appeals.

                            V. Standard and Argument

                   Part 1. VA Debt Collection Violated FDCPA

   15. VA debt collection violated Fair Debt Collection Practices Act("FDCPA"). Not only it

violated venue selection "15USC§1692 i(a)(1)"(None of Chien/s property located in VA;None

of VA Courts has jurisdiction to change the control of CHBM),and making Chien suffered

double jeopardy risk in violation Amend V of Constitution (collecting debt in both CT and VA

simultaneously); but also, it abused the criminal system by violating "15USC§1692.d(l)".

      This violation is serious. Ifthe Government had taken action, it should have money

penaltyfor the debt collector, of$16000for every day as mentioned in Case: Jerman v Carlisle

et al., 130 S.Ct. 1605,1609(2010), US Supreme Court:

  "The Act is enforced through administrative action and private lawsuits. With some
  exceptions not relevant here, violations ofthe FDCPA are deemed to be unfair or deceptive
  acts or practices under the Federal Trade Commission Act(FTC Act), 15 U.S.C. § 41 et seq.,
  and are enforced by the Federal Trade Commission(FTC). See § 16921. As a result, a debt
  collector who acts with "actual knowledge or knowledge fairly implied on the basis of
   objective circumstances that such act is prohibited imder the FDCPA]" is subject to civil
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   penalties of up to $16,000 per day. §§ 45(m)(l)(A),(C); 74 Fed.Reg. 858(2009)(amending
   16 CFR § 1.98(d))."

Grogan isn't an employee ofthe VA State, not exempted by "15USC§1692a(6)(C)" as a debt

collector. In Case Pollice v. National Tax Funding, LP,225 F. 3d 379,406, Court of Appeals,

3rd Circuit in year 2000, held:

   "Section 1692a(6)(C) provides:
    The term ["debt collector"] does not include ...(C)any officer or employee ofthe
    United States or any State to the extent that collecting or attempting to collect any debt is
    in the performance of his official duties.

    .... The exemption expressly is limited to "any officer or employee ofthe United States or
    any State."... The exemption does not extend to those who are merely in a contractual
    relationship with the government. See Brannan v. United Student Aid Funds,Inc., 94 F.3d
    1260,1263(9th Cir. 1996)"(emphases added)

    Although Grogan has serious liability for his violation of FDCPA,it is Ms. Hughes and Mr.

Leonard to have the authority to execute the illegal incarceration. Every day ofthe illegal

incarceration is a predicate ofRICO as well as violation ofFDCPA.

                           Part 2. Judicial Corruption and Bias

     16. Judicial Misconduct, Corruption and Bias.

   The judicial misconduct is inevitable. Some judge or other officer directly involved the

judicial corruption. These judicial misconducts are hardly corrected, because the judge has the

absolutely immunity, and Clerk or Sheriff has qualified immunity, whether he(she)can be

honest or loyalty to the constitution for the judicial equity and fairness, mostly depends on the

judicial officer's self-discretion or self-discipline, fraud rarely being discovered or attacked.

     17. In the article "Corruption in Our Courts: What It Looks Like and Where It Is Hidden"

118 Yale Law Joumal, p.1900-1944(2009), Author Stratos Pahis wrote:

       "Cases ofjudges ruling on matters involving a financial or personal conflict of interest
       are numerous and are responsible for a large portion of sanctions handed down by state
       judicial conduct organizations(JCOs).^ The receiving of gifts, the granting offavors, ex

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       parte communications, and other actions that create partiality or its appearance are also
       highly prevalent forms of malfeasance dealt with by JCOs."(Page 1903)
       ''this study implies that over one million bribes are paid in the U.S.judicial system
       each year. While this survey captures bribes directed not only toward judges, but also
       toward police, prosecutors, and jurors, the results are alarming enough to warrant further
       study into judges, whose integrity is most critical to a functioning judicial system."(page
       1905)

       Ofthe state judges removed or convicted,29 of the 34 judges(85%)were elected.
       This is almost identical to the 87% of state trial and appellate judges who either gain or
       retain their posts through elections.^" Counting the number of bribes accepted by elected
       versus appointed judges shows a different result. Ofthe total number of bribes
       accepted by state judges, only 14 bribes accepted by appointed state judges were
       discovered (0.5%), while over 2700 bribes by elected judges were discovered
       (99.5%)(P.1922-.1923).

       The disposal oftraffic citations and fines yielded understandably smaller bribes for
       judges. There are records of$40 to $100 bribes and of gifts ranging from guns to jewelry
       to a bag of ice and a pound of ham (p.1928-1929).
       The incidence of multijudge corruption schemes is also noteworthy. There could be
       reasons to believe that multijudge involvement stymies investigations and reduces risk.
       Multiple players, however, also may serve to increase the risk of defection (p.1931).
       (emphases added)

     Author Stratos Pahis' study disclosed there are one million bribes, which were discovered,

or charged every year in US Judicial system. These numbers and characters of cases showed the

serious ofjudicial corruption. But there are more corrupted cases not discovered or charged.

Because some corruption cases, likes Chien's, only the court's agency and private lawyers

involved in bribery or embezzlement, under conspiracy with clerks and sheriffs. Due to multi-

persons in a group for judicial misconducts,the judges abandoned the discipline to favor the

group, which made Chesterfield Circuit Court as Racketeering Enterprises.

    18. In the website of www.reuters.com, Michael Berens and John Shiffinan claimed after

delving many records ofjudicial misconducts,they foimd "[tjhousands of U.S.judges who broke

laws or oaths remained on the bench."(www.reuters.com/investigates/special-report/usa-judges-

misconduct/). To protect liberty ofinnocent people is the basic function of the court, any judge

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who broke down the basic function, is braking laws or oaths

    19. Unfavored pro se circumstances have existed widely in US Courts and VA State Courts
     The promise ofjustice for all under the law is lauded in the United States, yet realities of

the U.S. court system fall far short ofthis civic ideal, because justice gap persists due to causes:

    (a)Economic gap; the legal costs to hire an attorney for a civil case, are far more than

middle-income persons can afford, needless to say for lower income class people.

    (b)The tradition ofthe federal courts unfavored pro se.
     The University of Chicago Law Review, Vol. 85 (2018),issue 7, published "Empirical

Patterns ofPro Se Litigation in Federal District Courts", author Mitchell Levy wrote:

           "In September 2017, Judge Richard Posner abruptly resigned from the Seventh
       Circuit. In subsequent interviews,Posner explained that he resigned in part because of his
       disagreement with his judicial colleagues over the Seventh Circuit's treatment of pro se
       litigants(those litigants who appear before courts without lawyers).! In particular, Posner
       thought the court wasn't "treating the pro se appellants fairly," didn't "like the pro se's,"
       and generally didn't"want to do anything with them.
            Posner's resignation is a powerful reminder ofthe challenges pro se litigants continue
        to face. His beliefthatpro se litigants arefrequently mistreated in civil litigation and
        denied afull andfair opportunity to vindicate their claims is neither new nor limited to
       federal appellate courts.^''(p.1820)(emphases added)
   The tradition ofthe federal courts unfavored pro se., is the real reason to cause the hard

discovery of merit Chien's previous cases, but will not change the facts ofthe judicial

misconduct of Chesterfield Circuit Court. Some old case in CT is waiting to reopen.

    (d) Hon. Donald W Lemons ignored Chien's human right, and FDCPA,which caused the

failures of Chien's previous appeals in VA Supreme Court. Hon. Donald W Lemons has been

sued in Case 3:19cv00235 ofthis Court. His error is independent with errors ofthe defendants.

    (e)In VA,Clerks and Sheriffs are constitutional officers, and elected by the people ofevery

county. These judicial officers have higher corruption rate than other officers are assigned in

other States,from the article of Stratos Pahis.


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          Part 3. Chesterfield Circuit Court- A Racketeering Enterprises in Chien's Cases

    20. RICO is to interrupt interstate commerce, here CBFs bankruptcy and control ofCHBM

and Chien's other business are interstate commerce, 18USC§ 1961 gave definition of RICO.

   (a)"18USC§1961.(l).(A)" cited any violation ofthe state law with felony charge qualified as

acts of RICO. Here, defendants Ms. Hughes and Mr. Leonard violated "§18.2-22(a)(2)" of

conspiracy with Grogan, and VA Code "§18.2-112.1. B"of wrongly used Chesterfield County's

criminal system funds in illegal incarceration,"§18.2-59 Extortion" ofaiding embezzlements.

  (b)18USC §1961(1)."(B) any act which is indictable under any ofthe following provisions of

title 18... section 1028 (relating to fraud and related activity in connection with identification

documents), section 1341 (relating to mail fraud), section 1343 (relating to wire fraud), section

1344 (relating to financial institution fraud)....section 1512(relating to tampering with a witness,

victim, or an informant), section 1513 (relating to retaliating against a witness, victim, or an

informant),... section 1951 (relating to interference with commerce,robbery, or extortion)..."

   (c) The illegal incarceration was offense of"18USC§1512" and "18USC§1513(e)" of

retaliation of Chien's whistle-blowers. 1148 days of incarcerations are 1148 times of predicates

of RICO. Ms. Hughes and Mr. Leonard engaged majority ofthem.

   (d)Under illegal incarceration to make forged stock certificate for Freer, was offenses of

'T8USC §1028" making false corporation identity for control(changing 90% of ownership), and

"18USC §1951" of interference with commerce.

    "18USC§1028" also specified to keep the false corporation identity is offense. Ms. Hughes

and Hon. Robbins wanted to keep intact ofthe false certification made by Ms. Worthington on

behalf of Chesterfield Circuit Court, is a new offense of"18USC§1028".

   (e) All of Grogan orders were without motion procedure to approve by Judge. The process of


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issuance, communication with Clerks and Sheriffs for executions, are mail fraud and wire fraud,

offenses of 18USC §1341 & §1343.

   (f) The $1,6 million unjust enrichment is retaliation xmder 18USC §1513(e)

       "(e)Whoever knowingly, with the intent to retaliate, takes any action harmful to any
       person, including interference with the lawfiil employment or livelihood ofany person,
       for providing to a law enforcement officer any truthful information relating to the
       commission or possible commission ofany Federal offense, shall be fined under this title
       or imprisoned not more than 10 years, or both."

     Hon. Rockwell created unjust enrichment of Freer, which further developed into illegally

depriving of Chien's liberty and self-employed business, made Chien impossible to make money

for living. Whenever the unjust enrichment stands, Chien's capability to make living is seriously

hurt. Hon. Rockwell offended "18USC§1959" to aid and abet"18USC§1513(e)" of Freer and his

attorneys. The rejection order dated 8/9/2018 was a new offense of"18USC§1959".

   21. 18USC§ 1961 (5)gave pattern ofracketeering acts, which requires two acts within ten

years period. The allegations of defendants except Hon. Robbins, satisfies the requirements:

    22. 18USC §1961 (4)define:

       "enterprise" includes any individual, partnership, corporation, association, or other legal
       entity, and any union or group ofindividuals associated in fact although not a legal entity;

   Here,the agency Grogan,clerks Ms. Worthington, and Ms. Hughes, Sheriff Mr. Lenard and

Judges Hon. Rockwell, Hon. Hauler and other under the legal entity Chesterfield Circuit Court

for racketeering activities. The new leader Hon. Robbins does favor existing or previous judicial

misconduct. Then Chesterfield Circuit Court is an enterprise of Racketeering.

   23. RICO was designed to prevent the illicit infiltration oflegitimate enterprises. The

operation of enterprise is at the employees and officers. The enterprise has no vicarious liability

to its employees and officers, which are individually liable.

                 Part 4. Independent Act Pursuant to Rule 60(d)(1)&(d)(3)

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     24. Hon. Rockwell, Ms. Hughes and Mr. Leonard was sued in Case 1:17cv0677-LO-TCB

and being denied by the court fraud. For example, in Case 1:17cv0677, it was wrongly to apply

the two-year time bar in denying false incarceration claim against Mr. Leonard.

        "Sheriffs Proffitt and Leonard have moved to dismiss the case against them for failing to
        state a claim. They argue that Plaintiffsfalse imprisonment claim is unsupported byfacts
        and time-barred; that Plaintiffs§1983 claims are unsupported byfacts pertaining to
        them specifically and are time-barred;(p.10, doc.#125 of Case l:17cv677)(emphasized)

Chien's complaint was filed on 6/21/2017, and Chien's release was on 6/27/2016, and the last

order of Grogan's incarceration was on 8/31/2015, within the two-year time period.

     The judgment(doc.#125 of Case 1:17cv677) never addressed the merits alleged here for

Ms. Hughes and Hon. Rockwell.

    Due to Rule 60(d)(1)&(3)of Fed R. Civ. Proc., it is no time limit by requesting to set aside

ajudgment obtained by the court fraud, nor can laches bar consideration ofthe matter. The logic

is clear:


        "the law favors discovery and correction of corruption ofthe judicial process even more
        than it requires an end to lawsuits." Lockwood v. Bowles,46 F.R.D. 625,634(D.D.C.
        1969).

   The order of Case 1:17cv677, will not prevent Chien from filing this complaint. On the

contrary, it is proper to take the credits offiling date of6/21/2017 against Mr. Leonard here.

Further, the declaration relief is for avoid future same fraud without time bar.

                                    VI. Causes of Action

     25. Allegations under 18USC§1962(b)&(c)&(d)

    (a) 18USC§1962(b) states:

            "(b)It shall be unlawful for any person through a pattern ofracketeering activity

               or through collection of an unlawful debt to acquire or maintain, directly or
               indirectly, any interest in or control of any enterprise which is engaged in, or
               the activities of which affect, interstate or foreign commerce.''''(emphasis added).


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  This is regarding through acts of RICO to get illegal control of another enterprises- CHBM.

CHBM's business and share trading are interstate commerce. CHBM isn *t a party ofany

litigation. CHBM has no asset or business activities in VA. None ofany VA Courts has the

jurisdiction to change the control ofCHBM.

    (b) 18USC §1962(c) states:

       "It shall be unlawful for any person employed by or associated with any enterprise
       engaged in, or the activities of which affect, interstate or foreign commerce,to conduct or
       participate, directly or indirectly, in the conduct ofsuch enterprise's affairs through a
       pattern ofracketeering activity or collection of unlawful debt."

   This is regarding predicates at the operation ofthe RICO enterprises which is Chesterfield

Circuit Court. Here, Grogan is Commissioner in Chancery. Grogan was impersonating as a judge

on 5/7/2014 to sign an order ofindefinite incarceration for his personal income and stealing

assets ofthird parties. Clerks and Sheriffs executed Grogan's orders without publicly approval of

any judge. The arrest and incarceration procedure are in violation of Amend IV and XIV ofthe

constitution.


     (c) 18USC §1962(d)conspiracy claim based to violate § 1962(b)&(c) under conspiracy.

Here, Chien was a secret inmate. Grogan order and former clerk Worthington's certification on

2/18/2014, were secret. There was no motion procedure to issue Grogan's orders, no fairness and

no transparency. There was no list, no a penny payment, no return after to ship eight boxes of

documents, three computers from CT to Grogan's office.

     Fraudulent concealment is an element of conspiracy. Ms. Hughes wanted to delete her past

records ofengaging illegal incarceration, is a new step ofconspiracy.

    26. Allegations against Ms. Hughes and Mr. Leonard

    (a) Ms. Hughes and Mr. Leonard directly violated 18USC§1962(c), because they violated


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"§18.2-22(a)(2)" ofconspiracy with Grogan,and VA Code "§18.2-112.1. B",to wrongly use

Chesterfield County Criminal Syatem Fund for illegal incarceration, offended money fraud and

wire fraud "18USC §1341 & §1343". They offended "18USC§1959" to aid and abet Grogan and

others for "§18.2-59 Extortion" for embezzlements as well as"18USC§1512","18USC§1513(e)"

of retaliation. They aided and abetted Gorgon's offense ofRICO and FDCPA.

    (b) Ms. Hughes and Mr. Leonard offended 1818USC§1959" to aid and abet Grogan and

others to violate "18USC§1962(c)". Ms. Hughes directly violated "18USC§1028" recently by

rejected to correct the falsifies certificate made by former clerk Worthington on 2/18/2014.

     (c) Ms. Hughes and Mr. Leonard offended "18USC§1962(d)" because they made Chien as

a secret inmate, and communicated with Grogan and executed Grogan orders under illegal

procedure.

     27. Allegation against Hon. Rockwell

       Hon. Rockwell committed subject-matter error as well as being deceived by Freer and

Clark in Case CL.12-485. The $1.6 million defaultjudgment was the unjust-enrichment for

Freer, which aided and abetted Freer's offense of"18USC §1513(e)" till today.

     28. Allegation against Hon. Robbins.

       Hon. Robbins made mistakes by omitting Amend IV and Amend XIV of Constitution,

and 42USC§1983 to protect the illegal incarceration and extortion. To reject correct the false

certification made on 2/18/2014 by Worthington, is to protect false corporation identity.

                                  V. Relief

    29. Declaratory Judgment Act,28USC §2201 & §2202,is specially designed to cure the

state in abusing the criminal system to deprive the rights ofinnocent. From the order dated the

01/13/2021, Hon. Robbins didn't admit any wrong doing ofthe VA Debt Collection. Therefore,



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RICO under excuse of collecting debt, will repeat again.

    30. The declaratory judgment will affirm above allegations for defendants. There is no need

to change the existing orders of Chesterfield Circuit Court. But the judicial misconduct for years

should be discovered and attacked.

          Respectfully-submitted
                                                                  iff:
                                                            Plaintiff:

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